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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

v.                                                            Case No. 1:23-cr-257-TSC

DONALD J. TRUMP,

      Defendant.
________________________________/

                     EMERGENCY MOTION TO VACATE ORDER ON
                         GOVERNMENT’S MOTION TO SEAL

       At 11:58 AM this morning, the government filed a motion for leave to file a document

under seal (the “Motion for Leave”). The government did not request Defendant’s position on the

Motion for Leave, or otherwise notify Defendant it would be filing the Motion for Leave. Shortly

thereafter, the Court entered an order granting the Motion for Leave without allowing Defendant

the opportunity to respond. Doc. 70 (the “Order”).

       Local Criminal Rule 47(b) allows parties 14 days to respond to all motions except as

directed by the Court. The Court may only “treat a motion as conceded” if it is unopposed or if “a

memorandum is not filed within the prescribed time.” Id. This procedure is further required by the

Due Process clause and fundamental fairness. Thus, as a matter of course, the Court should allow

Defendant sufficient time to respond to every motion filed in this matter. See, e.g., Amor v. Arizona,

No. CV-06-499-TUC-CKJ, 2010 WL 960379, at *15 (D. Ariz. Mar. 15, 2010) (“[L]itigation is not

a one-way street. Defendants have the right to defend against allegations in a court of law. . . . As

such, each and every defendant has the right to respond to motions.”).

       Because Defendant did not have the opportunity to respond to the Motion for Leave,

Defendant respectfully requests the Court vacate the Order and re-consider the Government’s

Motion for Leave following the receipt of Defendant’s responsive filing. Defendant further
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requests the Court allow Defendant reasonable time to time to review the government’s pleadings,

proposed sealed exhibits, and relevant authority in preparing his response. See LCrR 47(b)

(allowing parties 14 days to respond to motions).1




    Dated: September 5, 2023                        Respectfully submitted,


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                                                    Counsel for President Donald J. Trump




1
 Due to the exigency presented by the government’s impending filing, Defendant did not confer
with the government prior to filing this motion.
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